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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Christian Care Centers, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  900 Wiggins Parkway
                                  Mesquite, TX 75150
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Dallas                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://christiancaretexas.org/


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                6233

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                              Case number
                                                 District                                 When                              Case number




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          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      Christian Care Center Foundation, Inc.                       Relationship               Affiliate

                                                    District    Northern                    When      5/23/22                Case number, if known      TBD


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                                                                     50,001-100,000
                                                                                        5001-10,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion


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         Name


16. Estimated liabilities     $0 - $50,000                                $1,000,001 - $10 million               $500,000,001 - $1 billion
                              $50,001 - $100,000                          $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                              $100,001 - $500,000                         $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                              $500,001 - $1 million                       $100,000,001 - $500 million            More than $50 billion




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          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 23, 2022
                                                  MM / DD / YYYY


                             X   /s/ Mark Shapiro                                                         Mark Shapiro
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X   /s/ Buffey E. Klein                                                       Date May 23, 2022
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Buffey E. Klein 24032515
                                 Printed name

                                 Husch Blackwell LLP
                                 Firm name

                                 1900 N. Pearl Street, Suite 1800
                                 Dallas, TX 75201
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     214-999-6152                  Email address      buffey.klein@huschblackwell.com

                                 24032515 TX
                                 Bar number and State




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                                  CHRISTIAN CARE CENTERS, INC.
                              MINUTES OF THE BOARD OF TRUSTEES
                             SPECIAL CALLED MEETING MAY 16, 2022


        A Special Called Meeting of the Board of Trustees of Christian Care Centers, Inc. (CCC) was
held via video conference and by telephone commencing at approximately 10:40am.
        The following trustees were in attendance at the beginning of the meeting: Mr. Gerald
Taylor, Mr. Van Henley, Mr. Greg Samuel, Mrs. Pat Lawson, Mr. J D Tidwell, Mr. Don Clevenger,
Dr. Lyn Goggin, Mr. George Ashmore, Mr. Kelley Schubert, and Dr. Greg Patton.
        Secretary to the Board, Mrs. Marci Penney, was in attendance and determined that a
quorum was present for all purposes. A quorum of the trustees remained in attendance for the
entire meeting.
        The following officers and staff members were present: Mrs. Sabrina Porter, Mr. Mark
Spencer, and Mrs. Marci Penney. Also present were Ms. Buffey Klein of Husch Blackwell LLP; Mr.
Mark Shapiro of B. Riley Advisory Services; and Mr. Andrew Turnbull, Mr. Steven Balash, Mr.
Anthony Pignataro, and Mr. Salman Paya of Houlihan Lokey.
        Mr. Taylor, Chairman of the Board, convened the meeting and presided throughout the
meeting.
        Mr. Taylor turned over the meeting to Ms. Klein for an update.
        Ms. Klein stated that the Definitive Agreement, which is made up of the Asset Purchase
Agreement (APA) and Operations Transfer Agreement (OTA), is almost ready to go. She said that
today’s meeting is to receive approval to file Chapter 11 Bankruptcy.
        Discussion was then had regarding any liabilities that the Board may have through
bankruptcy, and before and after the sale is final. Ms. Klein explained that there will be no liability
once the sale is closed, and that the Board and CCC will be dissolved through the court. She
further stated that the Board will be acting until the sale is final, and will need to have all regularly
scheduled meetings.




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          The resolution was then distributed to the Board members, and they were given time to
review.
          Mr. Taylor confirmed that there were no questions regarding the resolution. Upon the
motion of Mr. Samuel, seconded by Mr. Clevenger, and an affirmative vote, individually, by each
Board member in attendance, the attached Resolution is fully adopted.
          Mr. Schubert left the meeting at approximately 11:20.
          Discussion was had regarding the timing of the communications once the bankruptcy is
made public, and confirming that everyone is fully prepared.
          Mrs. Lawson asked if Ms. Klein needed everyone’s signatures on the resolution. Ms. Klein
stated that it was not necessary since it will show as approved in the minutes.
          The Board suspended as the Board of Trustees of Christian Care Centers, Inc. and
convened as the Board of Trustees of Christian Care Centers Foundation, Inc. At the conclusion
of the meeting of the Foundation, the Board re‐convened as the Board of Trustees of Christian
Care Centers, Inc.
          Mr. Taylor asked if there were any other questions or comments. There were none.
          Mr. Henley led the closing prayer.
          There being no further information to come before the Board, the meeting adjourned at
approximately 11:30 am.




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                         RESOLUTIONS OF THE
        CHRISTIAN CARE CENTERS, INC. and CHRISTIAN CARE CENTERS
                 FOUNDATION, INC., BOARD OF TRUSTEES

                                           May 16, 2022


       This written consent may be executed by electronically transmitted signature, and all such
signatures shall constitute this entire written consent. The resolutions to which the undersigned
consents are as follows:
       WHEREAS, the Board of Trustees (the “Board”) of Christian Care Centers, Inc.
       and Christian Care Centers Foundation, Inc. (collectively the “Company”)
       previously authorized and instructed the Chief Restructuring Officer, the Board
       Chairman, the Company’s Chief Executive Officer, or any such other officer that
       the Company may designate (each an “Authorized Officer”) to cause the
       preparation of voluntary petitions for reorganization under Chapter 11 of the
       Bankruptcy Code along with all petitions, schedules, lists, and other motions,
       applications, papers, or documents in connection with the voluntary petitions for
       reorganization;

       WHEREAS, since the March 29, 2021 Resolution referenced in the preceding
       paragraph, the Company has continued to assess its current and prospective
       financial and operational status and strategic alternatives available to it;

       WHEREAS, to assist in continuing to evaluate the Company’s financial status and
       strategic alternatives available to it, the Company retained Houlihan Lokey Capital,
       Inc. (“Houlihan”) to serve as the Company’s financial advisor to provide financial
       advisory and investment banking services in connection with a financial
       restructuring, merger, or acquisition transaction;

       WHEREAS, over the past nine months, Houlihan has assisted the Company in
       continuing to evaluate the strategic alternatives available to it and facilitated the
       marketing of the Company for a sale that would maximize the value to all
       stakeholders;

       WHEREAS, after considering presentations by the Company’s management and
       the financial advisors regarding the Company’s liabilities and liquidity, its
       historical performance, and its current and prospective financial and operational
       status, the Board has determined that it is in the best interest of the Company to sell
       its assets to a third-party;

       WHEREAS, the Board has also considered the different offers presented by
       Houlihan for a sale or acquisition of the Company and has determined it is in the
       Company’s best interest to enter into an Asset Purchase Agreement with North
       Texas Benevolent Trust, LLC (the “APA”);



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      WHEREAS, it is further understood that the Company will the purchase price
      identified in the APA will not fully satisfy all of the Company’s liabilities;

      WHEREAS, the Board continues to believe and has determined that it is fair,
      reasonable, and in the best interests of the Company, its residents, its creditors, and
      other interested parties for the Company to file voluntary petitions seeking relief
      under Chapter 11, Title 11 of the United States Code (the “Bankruptcy Code”) in
      the United States District Court for the Northern District of Texas.

      NOW, THEREFORE, IT IS:

      RESOLVED, that in the judgment of the Board, it is in the best interest of the
      Company, its residents, its creditors, and other interested parties to enter into the
      APA;

      RESOLVED, that in the judgment of the Board, it is desirable and in the
      Company’s best interests to continue the retention of B. Riley Advisory as CRO
      and Houlihan as the Company’s financial advisor in connection with the
      Company’s bankruptcy;

      RESOLVED, that the Company’s March 29, 2021 Resolution referenced herein is
      further affirmed and that all specific resolutions in the March 29, 2021 Resolution
      are affirmed;

      RESOLVED, that to effectuate the goals of the restructuring of the Company, to
      provide financial support for the restructuring of the Company, and to successfully
      seek relief pursuant to the Bankruptcy Code, that each Authorized Officer is
      authorized to seek, negotiate, and sign documentation to enable the Company to
      receive financing pursuant to an interim debtor-in-possession financing transaction
      on such terms that the Authorized Officer deems reasonable;

      RESOLVED, that the Members of the Board have received sufficient notice of the
      actions and transactions relating to the aforementioned recitals and resolutions as
      required by the Company’s organizational documents or have waived any right to
      receive such notice;

      RESOLVED, that the Authorized Officers are authorized to take any and all
      actions or not take any actions with respect to the actions contemplated by the
      foregoing resolutions as the Authorized Officers deem are necessary or desirable in
      such Authorized Officer’s business judgment and as may be necessary or
      appropriate to effectuate the intent of the foregoing resolutions;

      RESOLVED, that the Authorized Officers, acting alone or with one or more other
      authorized Officers, be and hereby are, authorized, empowered and directed to
      certify the authenticity of these resolutions.




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                               Approval of Prior Actions

FURTHER RESOLVED, that any and all actions taken in connection with the foregoing
resolutions prior to the adoption of such resolutions by the Company or any other officer
or agent of the Company are hereby ratified, affirmed, and approved in all respects and for
all purposes;
FURTHER RESOLVED, the signature of an Authorized Officer on any of the
documents, agreements, and instruments authorized under these resolutions will be
conclusive proof of the determination by the Authorized Officer that such documents,
agreements, and instruments are necessary or appropriate to carry out the purposes and
intent of these resolutions;
FURTHER RESOLVED, that these resolutions may be executed by facsimile, telecopy,
or other electronic means or reproduction, and such execution shall be considered valid,
binding, and effective for all purposes.




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